         Case 1:23-mc-00002-APM Document 9 Filed 01/24/23 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
SECURITIES AND EXCHANGE                   )
COMMISSION,                               )
                                          )
      Applicant,                          )
                                          )
            v.                            ) Case No. 23-mc-00002 (APM)
                                          )
COVINGTON & BURLING LLP,                  )
                                          )
      Respondent.                         )
_________________________________________ )


                                 ORDER TO SHOW CAUSE

       Respondent Covington & Burling LLP (“Covington”) is hereby ordered to show cause why

the court should not enter an order compelling its compliance with the subpoena issued on March

21, 2022, by Applicant Securities and Exchange Commission (“SEC”). The court hereby orders

the following schedule for further proceedings, to which the parties have stipulated, ECF No. 8:

               1. Covington’s brief in opposition shall be due on February 14, 2023;

               2. Any and all amicus curiae briefs shall be due on February 21, 2023;

               3. The SEC’s reply brief shall be due on March 14, 2023.

               4. The parties shall appear for a hearing on the SEC’s application on March 20,
                  2023, at 2:00 p.m., in Courtroom 10.

       Pursuant to Local Civil Rule 7(o)(1), the court will accept amicus curiae briefs without an

accompanying motion for leave to file.




Dated: January 24, 2023                                    Amit P. Mehta
                                                    United States District Court Judge
